Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 1 of 10 Page ID #:61




                   EXHIBIT B




                                                                           EXHIBIT B
                                                                            Page 60
Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 2 of 10 Page ID #:62




                                                                           EXHIBIT B
                                                                            Page 61
           Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 3 of 10 Page ID #:63



                     1            Defendants Amazon Fulfillment Services, Inc. (which, effective January 1, 2018 has

                     2   changed its name to Amazon.com Services, Inc.) and Golden State FC, LLC (collectively,

                     3   “Defendants”), by and through their undersigned counsel, hereby respond to the allegations

                     4   contained in the unverified First Amended Complaint of Plaintiffs Brittany Hagman (“Hagman”)

                     5   and Alberto Gianini (“Gianini”) (collectively, “Plaintiffs”) as follows:

                     6                                            GENERAL DENIAL

                     7            Pursuant to California Code of Civil Procedure Section 431.30(d), Defendants generally

                     8   deny each and every material allegation set forth in the Complaint. Defendants specifically deny

                     9   that they are in any way liable to Plaintiffs or any other current or former employees sought to be
                    10   represented, or that Plaintiffs have been damaged in any sum or sums.

                    11                                                 DEFENSES

                    12            Defendants have not completed their investigation of the facts of this case, have not

                    13   completed discovery in this matter, and have not completed their preparations for trial. The

                    14   defenses stated below are based on Defendants’ knowledge, information, and belief at this time.

                    15   Defendants specifically reserve the right to modify, amend, or supplement any defense at any

                    16   time.

                    17            Defendants asserts the following defenses, without admitting any obligations regarding

                    18   who bears the burden of proof or persuasion as to any one of them:

                    19                                              FIRST DEFENSE
                    20                                    (Failure to State a Cause of Action)

                    21            1.       The Complaint, and each claim alleged therein, fails to state facts sufficient to

                    22   constitute a cause of action.

                    23                                            SECOND DEFENSE
                    24                                          (Statutes of Limitations)

                    25            2.       The Complaint, and each claim alleged therein, are barred in whole or in part by

                    26   all applicable statutes of limitation, including but not limited to California Code of Civil

                    27   Procedure §§ 337, 338, ,339, 340, and 343; California Business and Professions Code § 17208;

                    28   and California Labor Code § 203.
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   COSTA MESA
                                                                             1
                         DB1/ 95082060.2   DEFENDANTS’ ANSWER TO UNVERIFIED FIRST AMENDED COMPLAINT                   EXHIBIT B
                                                                                                                       Page 62
           Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 4 of 10 Page ID #:64



                     1                                             THIRD DEFENSE

                     2                                               (Overpayment)

                     3            3.       To the extent Plaintiffs and/or putative class members were paid compensation

                     4   beyond that to which they were entitled while employed by Defendants, such additional

                     5   compensation would satisfy, in whole or in part, any alleged claim for unpaid wages or other

                     6   monetary relief.

                     7                                           FOURTH DEFENSE

                     8                                    (Accord and Satisfaction, Payment)

                     9            4.       The claims of Plaintiffs and/or putative class members, or some of them, are

                    10   barred in whole or in part by the principles of accord and satisfaction, and payment.

                    11                                             FIFTH DEFENSE

                    12                                                  (Release)

                    13            5.       To the extent Plaintiffs and/or putative class members released claims alleged in

                    14   the Complaint, then each alleged claim alleged in the Complaint is barred by those releases.

                    15                                             SIXTH DEFENSE

                    16                                    (Res Judicata/Collateral Estoppel)

                    17            6.       The claims of Plaintiffs and/or putative class members, or some of them, are

                    18   barred, in whole or in part, by the doctrines of res judicata and/or collateral estoppel.

                    19                                           SEVENTH DEFENSE
                    20                                           (Good Faith Reliance)

                    21            7.       The claims of Plaintiffs and/or putative class members, or some of them, are

                    22   barred to the extent Defendants acted in good faith reliance on an administrative regulation, order,

                    23   ruling and/or interpretation of the Industrial Welfare Commission, the Division of Labor

                    24   Standards Enforcement, and/or other governmental agency.

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   COSTA MESA
                                                                            2
                         DB1/ 95082060.2   DEFENDANTS’ ANSWER TO UNVERIFIED FIRST AMENDED COMPLAINT                  EXHIBIT B
                                                                                                                      Page 63
           Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 5 of 10 Page ID #:65



                     1                                           EIGHTH DEFENSE

                     2                                    (Alternative Workweek Schedule)

                     3            8.       The claims of Plaintiffs and/or putative class members, or some of them, are

                     4   barred because Defendants implemented a bona fide alternative workweek schedule in conformity

                     5   with the law.

                     6                                            NINTH DEFENSE

                     7             (Failure to Exhaust Internal and/or Administrative Remedies/Preconditions)

                     8            9.       The Complaint, and each claim alleged therein, are barred because Plaintiffs

                     9   and/or putative class members, or some of them, have failed to adequately and timely exhaust

                    10   their internal and/or administrative remedies and prerequisites.

                    11                                            TENTH DEFENSE

                    12                                       (No Waiting Time Penalties)

                    13            10.      The Complaint fails to state a claim for waiting time penalties under Labor Code

                    14   § 203 to the extent that no such penalties can continue after the commencement of an action for

                    15   the penalties.

                    16                                          ELEVENTH DEFENSE

                    17                                        (Avoidable Consequences)

                    18            11.      The Complaint, and each claim alleged therein, are barred, or recovery reduced,

                    19   because: (a) Defendants took reasonable steps to prevent and correct the conduct alleged in the

                    20   Complaint; (b) Plaintiffs and/or putative class members, or some of them, unreasonably failed to

                    21   use the preventive and corrective measures that Defendants provided; and (c) reasonable use of

                    22   Defendants’ procedures would have prevented at least some of the harm that Plaintiffs and/or

                    23   putative class members, or some of them, allegedly suffered.

                    24                                          TWELFTH DEFENSE

                    25                                            (Failure to Mitigate)

                    26            12.      The Complaint, and each claim alleged therein, are barred, or recovery reduced,

                    27   because Plaintiffs and/or putative class members, or some of them, failed to mitigate their

                    28   damages and, to the extent of such failure, any damages awarded should be reduced accordingly.
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   COSTA MESA
                                                                            3
                         DB1/ 95082060.2   DEFENDANTS’ ANSWER TO UNVERIFIED FIRST AMENDED COMPLAINT                EXHIBIT B
                                                                                                                    Page 64
           Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 6 of 10 Page ID #:66



                     1                                        THIRTEENTH DEFENSE

                     2                                              (Unclean Hands)

                     3            13.      The Complaint, and each claim alleged therein, are barred in whole or in part by

                     4   the doctrine of unclean hands.

                     5                                        FOURTEENTH DEFENSE

                     6                                                  (Waiver)

                     7            14.      The Complaint, and each claim alleged therein, are barred in whole or in part by

                     8   the doctrine of waiver.

                     9                                          FIFTEENTH DEFENSE
                    10                                                  (Estoppel)

                    11            15.      The Complaint, and each claim alleged therein, are barred in whole or in part by

                    12   the doctrine of estoppel.

                    13                                          SIXTEENTH DEFENSE

                    14                                                  (Consent)

                    15            16.      The Complaint, and each claim alleged therein, are barred to the extent Plaintiffs

                    16   and/or putative class members, or some of them, consented to any alleged activity or conduct.

                    17                                       SEVENTEENTH DEFENSE
                    18                                                  (Laches)

                    19            17.      The Complaint, and each claim alleged therein, are barred in whole or in part by

                    20   the doctrine of laches.

                    21                                        EIGHTEENTH DEFENSE
                    22                                                (De Minimis)
                    23            18.      The Complaint, and each claim alleged therein, are barred in whole or in part by
                    24   the de minimis doctrine.
                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   COSTA MESA
                                                                             4
                         DB1/ 95082060.2   DEFENDANTS’ ANSWER TO UNVERIFIED FIRST AMENDED COMPLAINT                  EXHIBIT B
                                                                                                                      Page 65
           Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 7 of 10 Page ID #:67



                     1                                         NINETEENTH DEFENSE

                     2                                        (Adequate Remedy at Law)

                     3            19.      The claims of Plaintiffs and/or putative class members, or some of them, for

                     4   injunctive and other equitable relief are barred because they have an adequate and complete

                     5   remedy at law.

                     6                                         TWENTIETH DEFENSE

                     7                                          (Setoff and Recoupment)

                     8            20.      If any damages have been sustained by Plaintiffs and/or putative class members, or

                     9   some of them, which is specifically denied, Defendants are entitled under the equitable doctrine

                    10   of setoff and recoupment to offset all overpayments and/or all obligations that Plaintiffs and/or

                    11   putative class members, or some of them, owed to Defendants against any judgment that may be

                    12   entered against Defendants.

                    13                                       TWENTY-FIRST DEFENSE

                    14                                    (No Standing for Injunctive Relief)

                    15            21.      Plaintiffs have no standing to assert claims for injunctive relief from Defendants

                    16   because they cannot benefit from such relief as former employees.

                    17                                      TWENTY-SECOND DEFENSE

                    18                                                (Due Process)

                    19            22.      The Complaint, including the allegations on behalf of others set forth therein, is

                    20   barred because the use of a class action, based upon the facts and circumstances of this case,

                    21   would constitute a denial of Defendants’ rights to due process under the United States and

                    22   California Constitutions. Furthemrore, the prosecution against Defendants of an action in these

                    23   circumstances under Business and Professions Code Section 17200 would constitute a denial of

                    24   its due process rights in violation of the Fourteenth Amendment to the United States Constitution

                    25   and the California Constitution.

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   COSTA MESA
                                                                             5
                         DB1/ 95082060.2   DEFENDANTS’ ANSWER TO UNVERIFIED FIRST AMENDED COMPLAINT                   EXHIBIT B
                                                                                                                       Page 66
           Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 8 of 10 Page ID #:68



                     1                                       TWENTY-THIRD DEFENSE
                     2                                             (Not the Employer)

                     3            23.      Plaintiffs’ claims on behalf of himself and putative class members fail to state a

                     4   claim against Defendant Amazon Fulfillment Services, Inc. because it did not employ Plaintiffs

                     5   and/or other putative class members.

                     6
                                                             RESERVATION OF RIGHTS
                     7
                                  24.      Defendants reserve the right to assert additional defenses as discovery proceeds
                     8
                         and they become aware of additional facts and circumstances that provide the basis for additional
                     9
                         defenses.
                    10
                                  WHEREFORE, Defendants pray for judgment as follows:
                    11
                                  1.       That Plaintiffs take nothing by reason of their Complaint;
                    12
                                  3.       That the Complaint herein be dismissed in its entirety with prejudice, and that
                    13
                         judgment be entered in favor of Defendants and against Plaintiffs on all claims contained in the
                    14
                         Complaint;
                    15
                                  4.       That Defendants be awarded their reasonable costs and attorneys’ fees incurred by
                    16
                         this action pursuant to Labor Code 218.5 and other applicable law; and
                    17
                                  5.       For such other and further relief as the Court deems just and proper.
                    18

                    19   Dated: January 4, 2018                                  MORGAN, LEWIS & BOCKIUS LLP
                    20

                    21                                                           By
                                                                                      Barbara J. Miller
                    22                                                                Joel M. Purles
                                                                                      Paul Bartholemew Quintas
                    23                                                                Attorneys for Defendants
                                                                                      AMAZON FULFILLMENT SERVICES,
                    24                                                                INC. and GOLDEN STATE FC LLC
                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   COSTA MESA
                                                                             6
                         DB1/ 95082060.2   DEFENDANTS’ ANSWER TO UNVERIFIED FIRST AMENDED COMPLAINT                   EXHIBIT B
                                                                                                                       Page 67
           Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 9 of 10 Page ID #:69



                    1                                       PROOF OF SERVICE

                    2          Brittany Hagman and Alberto Gianini v. Amazon Fulfillment Services, Inc., et al.
                                          San Bernardino Superior Court, Case No. CIVD9 1723776
                    3
                               I am a resident of the State of California and employed in Orange County, California. I
                    4   am over the age of eighteen years and not a party to the within entitled action. My business
                        address is 600 Anton Boulevard, Suite 1800, Costa Mesa, California 92626.
                    5
                               On January 4, 2018, I served a copy of the within document(s):
                    6
                              DEFENDANTS GOLDEN STATE FC, LLC AND AMAZON.COM, INC.’S
                    7        ANSWER TO PLAINTIFFS’ UNVERIFIED FIRST AMENDED COMPLAINT

                    8                 BY FAX: by transmitting via facsimile the document(s) listed above to the fax
                                       number(s) set forth below on this date before 5:00 p.m.
                    9
                                      BY MAIL: by placing the document(s) listed above in a sealed envelope with
                                       postage thereon fully prepaid, in the United States mail at Costa Mesa, California
                10                     addressed as set forth below. I am readily familiar with the firm's practice of
                                       collection and processing correspondence for mailing. Under that practice it would
                11                     be deposited with the U.S. Postal Service on that same day with postage thereon
                                       fully prepaid in the ordinary course of business. I am aware that on motion of the
                12                     party served, service is presumed invalid if postal cancellation date or postage
                                       meter date is more than one day after date of deposit for mailing in affidavit.
                13
                14                    BY OVERNIGHT MAIL: by placing the document(s) listed above in a sealed
                                       FEDERAL EXPRESS envelope, following ordinary business practices for
                                       collection and processing of correspondence with said overnight mail service, and
                15                     said envelope(s) will be deposited with said overnight mail service on said date in
                                       the ordinary course of business.
                16
                                      BY PERSONAL SERVICE: by causing the document(s) listed above to be
                                       personally delivered to the person(s) at the address(es) set forth below.
                17
                18                    BY ELECTRONIC SERVICE: the parties listed below were served
                                       electronically with the document(s) listed above by e-mailed PDF files on January
                                       4, 2018. The transmission was reported as complete and without error. My
                19                     electronic notification address is 600 Anton Boulevard, Suite 1800, Costa Mesa,
                                       California 92626. My e-mail address is vivian.dohi@morganlewis.com.
                20
                21                    BY E-FILE: I caused such documents to be transmitted by e-file with the Clerk of
                                       the Court by using the CM/ECF system, which will send a notice of electronic
                                       filing to the following:
                22
                               Attorneys for Plaintiffs
                23
                               Shawn C. Westrick                                  Telephone:     310.746.5303
                24             THE WESTRICK LAW FIRM, P.C.                        Facsimile:     310.943.3373
                               11075 Santa Monica Blvd., Ste. 125
                25             Los Angeles, CA 90025
                               Email: swestrick@westricklawfirm.com
                26
                               I am readily familiar with the firm’s practice of collection and processing correspondence
                27      for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                        day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                               PROOF OF SERVICE
                                                                                                                EXHIBIT B
                                                                                                                 Page 68
          Case 5:18-cv-00024-JVS-SHK Document 1-2 Filed 01/04/18 Page 10 of 10 Page ID #:70



                    1   motion of the party served, service is presumed invalid if postal cancellation date or postage
                        meter date is more than one day after date of deposit for mailing in affidavit.
                    2
                               Executed on January 4, 2018, at Costa Mesa, California.
                    3
                                 I declare under penalty of perjury under the laws of the State of California that the above
                    4   is true and correct.

                    5
                    6                                                                    Vivian F. Dohi

                    7
                    8
                    9
                10
                11
                12
                13
                14
                15
                16
                17
                18
                19
                20
                21
                22
                23
                24
                25
                26
                27
                28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                 PROOF OF SERVICE
                                                                                                                   EXHIBIT B
                                                                                                                    Page 69
